                Case 17-31897              Doc 1       Filed 12/18/17            Entered 12/18/17 13:00:53                    Page 1 of 22

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Clinton Nurseries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  517 Pond Meadow Road
                                  Westbrook, CT 06498
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Clinton Nurseries, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1114

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                Relationship
                                                 District                                 When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Clinton Nurseries, Inc.                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Clinton Nurseries, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 18, 2017
                                                  MM / DD / YYYY


                             X   /s/ David Richards                                                       David Richards
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Eric Henzy                                                            Date December 18, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric Henzy
                                 Printed name

                                 Zeisler & Zeisler, P.C.
                                 Firm name

                                 10 Middle Street, 15th Floor
                                 P.O. Box 1220
                                 Bridgeport, CT 06604
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (203) 368-4234                Email address      ehenzy@zeislaw.com

                                 ct12849
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Clinton Nurseries, Inc.                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Clinton Nurseries of Florida                                            Relationship to you               Affiliate
District   Connecticut                                When                         Case number, if known
Debtor     Clinton Nurseries of Maryland                                           Relationship to you               Affiliate
District   Connecticut                                When                         Case number, if known
Debtor     Triem, LLC                                                              Relationship to you               Affiliate
District   Connecticut                                When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
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 Fill in this information to identify the case:

 Debtor name         Clinton Nurseries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 18, 2017                       X /s/ David Richards
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Richards
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 17-31897                   Doc 1            Filed 12/18/17         Entered 12/18/17 13:00:53                             Page 9 of 22


 Fill in this information to identify the case:
 Debtor name Clinton Nurseries, Inc.
 United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT                                                                                  Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 McKinnon Nursery                David McKinnon                                                                                                                         $356,012.13
 Inc.
 Attn: Pres. GP or
 Mang. Mbr.                      503-792-3170
 13835 Butteville
 Road
 Gervais, OR 97026
 Ivy Acres, Inc.                 Jim Andrews                                                                                                                            $228,786.00
 Attn: Pres. GP or
 Mang. Mbr.                      Jandrews@ivyacre
 1675 Edwards                    s.com
 Avenue                          631-727-1980
 Baiting Hollow, NY
 11933
 Dutchmaster                                                                                                                                                            $200,150.00
 Nurseries LTD                   admin@dutchmast
 Attn: Pres. GP or               ernurseries.com
 Mang. Mbr.                      905-683-8211
 3735 Sideline 16
 Brougham, Ontario,
 Canada
 L0H 1A0
 Nursery Supplies,               Ken Hebert, CFO                                                                                                                        $180,124.00
 Inc.
 Attn: Pres. GP or
 Mang. Mbr.                      717-263-7780 x255
 P.O. Box 664010
 Dallas, TX 75266
 Cottage Gardens,                Rob Uchtman                                                                                                                            $153,886.00
 Inc.
 Attn: Pres. GP or               ruchtman@cottage
 Mang. Mbr.                      gardensinc.com
 4992 Middle Ridge               440-725-9199
 Road
 Perry, OH 44081




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Clinton Nurseries, Inc.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Qualitree                       Deborah Woelders                                                                                                                       $144,454.50
 Propagators Inc.
 Attn: Pres. GP or               deborah@qualitree
 Mang. Mbr.                      .com
 51546 Ferry Road                877-794-3375
 Rosedale, BC
 V0X 1X3 Canada
 MacGuyver Media                                                                                                                                                        $121,606.32
 Attn: Steven                    mac@macguyverm
 McKeon                          edia.com
 6 South Llanwellyn              267-337-5363
 Avenue
 Glenolden, PA
 19036
 Bankcard Center                 James Salisbury,                                                                                                                       $110,058.08
 Attn: Pres. GP or               VP
 Mang. Mbr.
 P.O. Box 4025                   james.salisbury@b
 Alameda, CA 94501               ankofthewest.com
                                 916-552-4371
 Fishback Nursery                                                                                                                                                       $107,103.00
 Attn: Pres. GP or
 Mang. Mbr.                      503-324-4440
 40065 N.W.
 Wilkesboro Road
 Banks, OR 97106
 Berger Horticultural            Carole Delude                                                                                                                          $101,497.96
 Products
 Attn: Pres. GP or               caroled@berger.ca
 Mang. Mbr.                      800-463-5582
 P.O. Box 656
 Sulphur Springs, TX
 75483
 Classic Home &                  Cathy Juda                                                                                                                             $100,874.83
 Garden
 Attn: Pres. GP or
 Mang. Mbr.                      203-335-8630 x150
 490 Pepper Street
 Monroe, CT 06468
 ICS, Inc.                       Tom Dickerson                                                                                                                            $98,983.90
 Attn: Pres. GP or
 Mang. Mbr.
 1 Component Park                781-760-0480
 West Bridgewater,
 MA 02379
 A.M. Leonard, Inc.                                                                                                                                                       $84,008.21
 Attn: Pres., GP., or
 Mng. Mbr.                       937-773-2694
 PO Box 816
 Piqua, OH 45356




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Clinton Nurseries, Inc.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Harrell's                                                                                                                                                                $79,694.67
 Attn: Pres. GP or               creditar@harrells.c
 Mang. Mbr.                      om
 P.O. Box 935358                 800-780-2774
 Atlanta, GA 31193
 Star Roses & Plants             David F. Watkins                                                                                                                         $78,702.80
 Attn: Pres. GP or
 Mang. Mbr.                      dwatkins@starrose
 P.O. Box 217                    sandplants.com
 Dinuba, CA 93618                215-837-0512
 HDS USA, LLC                                                                                                                                                             $59,372.00
 Attn: Pres. GP or               peter@horticulture
 Mang. Mbr.                      direct.com
 560 Deer Park Road              631-599-1056
 Huntington Station,
 NY 11746
 Left Coast Logistics                                                                                                                                                     $58,050.00
 LLC
 Attn: Pres. GP or               503-928-8195
 Mang. Mbr.
 5775 SW Jean Road,
 Ste 215
 Lake Oswego, OR
 97035
 Whittemore Perlite              Jeffrey Sheehy                                                                                                                           $49,921.33
 Co., Inc.
 Attn: Pres. GP or               jeffsheehy@comca
 Mang. Mbr.                      st.net
 P.O. Box 3099                   978-681-8833
 Andover, MA 01810
 Stinchcomb                      Melissa Graham                                                                                                                           $45,057.45
 Associates, Inc.
 Attn: Pres., GP., or            stinchcomb_melis
 Mng. Mbr.                       @accsandusky.co
 118 East Adams                  m
 Street                          419-609-2233
 Sandusky, OH 44870
 Pastanch, LLC                   Chris DePaolo                                                                                                                            $44,829.52
 dba New Christie
 Ventures                        chrisdepaolo@sbc
 Attn: Pres. GP. or              global.com
 Mang. Mbr.                      203-720-9478
 31 Sheridan Drive
 Naugatuck, CT
 06770




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Clinton Nurseries, Inc.                                                                   Case No.
                                                                                Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 18, 2017                                       /s/ David Richards
                                                                     David Richards/President
                                                                     Signer/Title




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                        State of CT
                        Dept of Revenue Services
                        C&E Div, Bankruptcy Section
                        25 Sigourney St.
                        Hartford, CT 06106


                        Internal Revenue Service
                        Centralized Insolvency operation
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346


                        U.S. Department of Justice
                        Attn: Jeff Sessions, Attorney
                        950 Pennsylvania Avenue, NW
                        Washington, DC 20530


                        US Attorney's Office,New Haven
                        Attn: Christine Sciarrino, Esq
                        Assistant US Attorney
                        57 Church Street, Floor 25
                        New Haven, CT 06510


                        A.M. Leonard, Inc.
                        Attn: Pres., GP., or Mng. Mbr.
                        PO Box 816
                        Piqua, OH 45356


                        Accountemps
                        Attn: Pres., GP., or Mng. Mbr.
                        12400 Collections Center Drive
                        Chicago, IL 60693


                        Acosta Farms
                        19200 SW 168 Street
                        Miami, FL 33187


                        ADP, Inc.
                        Attn: Pres. GP or Mang. Mbr.
                        P.O. Box 842875
                        Boston, MA 02284


                        Aerotek Professional Services
                        Attn: Pres. GP or Mang. Mbr.
                        3689 Collection Center Dr.
                        Chicago, IL 60693
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                    Anthony Tesselaar USA, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    15200 Mansel Avenue
                    Lawndale, CA 90260


                    APXnet
                    Attn: Pres. GP or Mang. Mbr.
                    2 School St., Suite 2
                    Berwick, ME 03901


                    AT&T
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5019
                    Carol Stream, IL 60197


                    Automotive Rentals, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 8500-4375
                    Philadelphia, PA 19178


                    Bank of the West
                    Attn: Pres., GP., or Mng. Mbr.
                    6873 N.West Avenue, Ste. 102
                    Fresno, CA 93711


                    Bankcard Center
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 4025
                    Alameda, CA 94501


                    Basile Clear Brook Farm, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 827
                    Granby, CT 06035


                    Berger Horticultural Products
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 656
                    Sulphur Springs, TX 75483


                    C.H. Robinson Worldwide, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 9121
                    Minneapolis, MN 55480
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                    CC Delivery Services, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    855 East Plant St., Suite 1200
                    Winter Garden, FL 34787


                    CCA Services, LLC
                    Attn: Pres. GP or Mang. Mbr.
                    159 Boston Post Road
                    Old Lyme, CT 06371


                    Century Financial Services Inc
                    Attn: Pres. GP or Mang. Mbr.
                    23 Maiden Lane
                    North Haven, CT 06473


                    Cintas Corporation #701
                    Attn: Pres. GP or Mang. Mbr.
                    11 Commercial Street
                    Branford, CT 06405


                    Classic Home & Garden
                    Attn: Pres. GP or Mang. Mbr.
                    490 Pepper Street
                    Monroe, CT 06468


                    Clinton Nurseries of Fla, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 846145
                    Boston, MA 02284


                    Clinton Nurseries of Florida
                    1415 East Peidmont Drive
                    Ste. 4
                    Tallahassee, FL 32308


                    Clinton Nurseries of Maryland
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 679
                    Westbrook, CT 06498


                    Clinton Nurseries of Maryland
                    517 Pond Meadow Road
                    Westbrook, CT 06498
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                    CompCare Occupational Medicine
                    Attn: Pres., GP., or Mng. Mbr.
                    28 Crescent Street
                    Middletown, CT 06457


                    Conard-Pyle Company
                    Attn: Pres. GP or Mang. Mbr.
                    25 Lewis Road
                    West Grove, PA 19390


                    Connecticut Orthopaedic Spec.
                    Attn: Pres., GP., or Mng. Mbr.
                    2408 Whitney Avenue
                    Hamden, CT 06518


                    Consumers Interstate Corp
                    Attn: Pres. GP or Mang. Mbr.
                    2 Consumers Ave
                    Norwich, CT 06360


                    Cottage Gardens, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    4992 Middle Ridge Road
                    Perry, OH 44081


                    CPKB
                    Attn: Pres. GP or Mang. Mbr.
                    738 Springfield Avenue
                    Summit, NJ 07901


                    Crystal Rock LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 10028
                    Waterbury, CT 06725


                    Daniel C. Cohn, Esq.
                    Murtha Cullina LLP
                    99 High Street
                    Boston, MA 02110


                    Digital Movers, LLC
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 569
                    Mashpee, MA 02649
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                    Dutchmaster Nurseries LTD
                    Attn: Pres. GP or Mang. Mbr.
                    3735 Sideline 16
                    Brougham, Ontario, Canada
                    L0H 1A0


                    Exxon Mobil
                    Attn: Processing Center
                    P.O. Box 78001
                    Phoenix, AZ 85062


                    Fishback Nursery
                    Attn: Pres. GP or Mang. Mbr.
                    40065 N.W. Wilkesboro Road
                    Banks, OR 97106


                    Frontier Communications
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 20550
                    Rochester, NY 14602


                    Gold Hill Sales, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    11715 SW Hillsboro Hwy.
                    Hillsboro, OR 97123


                    Griffin Grnhouse Supplies Inc
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 842937
                    Boston, MA 02284


                    Harrell's
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 935358
                    Atlanta, GA 31193


                    HDS USA, LLC
                    Attn: Pres. GP or Mang. Mbr.
                    560 Deer Park Road
                    Huntington Station, NY 11746


                    Hochstein Nursery, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    38100 S.W. Gnos Road
                    Cornelius, OR 97113
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                    Home Depot Credit Services
                    Attn: Pres. GP or Mang. Mbr.
                    Dept 32 - 2501744167
                    P.O. Box 9055
                    Des Moines, IA 50368


                    Hummert International
                    Attn: Pres. GP or Mang. Mbr.
                    4500 Earth City Expwy
                    Earth City, MO 63045


                    ICS, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    1 Component Park
                    West Bridgewater, MA 02379


                    Industrial Imaging Products In
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 428
                    Senoia, GA 30276


                    Innovative Software Solutions
                    Attn: Pres. GP or Mang. Mbr.
                    4300 Plainfield, Suite H
                    Grand Rapids, MI 49525


                    Irve J. Goldman, Esq.
                    Pullman & Comley, LLC
                    850 Main Street
                    P.O. Box 7006
                    Bridgeport, CT 06601


                    Ivy Acres, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    1675 Edwards Avenue
                    Baiting Hollow, NY 11933


                    Jane B. LaPrino
                    10 Pawson Landing Drive
                    Branford, CT 06405


                    Jay L. Welford, Esq.
                    Jaffe Raitt Heuer & Weiss, P.C
                    27777 Franklin Road, Ste. 2500
                    Southfield, MI 48034
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                    John Henry Company
                    Attn: Pres. GP or Mang. Mbr.
                    75 Remittance Dr., Suite 3111
                    Chicago, IL 60675


                    Kainen, Escalera & McHale, PC
                    Attn: Pres., GP., or Mng. Mbr.
                    21 Oak Street
                    Hartford, CT 06106


                    Karen Burr
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 418
                    Moodus, CT 06469


                    Left Coast Logistics LLC
                    Attn: Pres. GP or Mang. Mbr.
                    5775 SW Jean Road, Ste 215
                    Lake Oswego, OR 97035


                    MacGuyver Media
                    Attn: Steven McKeon
                    6 South Llanwellyn Avenue
                    Glenolden, PA 19036


                    McKinnon Nursery Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    13835 Butteville Road
                    Gervais, OR 97026


                    Middlesex County Chamer
                    of Commerce
                    Attn: Pres., GP., or Mng. Mbr.
                    393 Main Street
                    Middletown, CT 06457


                    Middlesex Hospital
                    Attn: Pres. GP or Mang. Mbr.
                    28 Crescent Street
                    Middletown, CT 06457


                    Middlesex Supply Company
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 700
                    Middletown, CT 06457
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                    MZQ Consulting, LLC
                    Attn: Pres. GP or Mang. Mbr.
                    1700 Reistertown Rd, Ste 226
                    Pikesville, MD 21208


                    NFI Logistics LLC
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 417736
                    Boston, MA 02241


                    Nursery Supplies, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 664010
                    Dallas, TX 75266


                    Online Freight Services, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    2275 Waters Drive
                    Mendota Heights, MN 55120


                    Opentext/GXS
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 640371
                    Pittsburgh, PA 15264


                    Pastanch, LLC
                    dba New Christie Ventures
                    Attn: Pres. GP. or Mang. Mbr.
                    31 Sheridan Drive
                    Naugatuck, CT 06770


                    Pioneer Gardens, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    198 Mill Village Road
                    Deerfield, MA 01342


                    Qualitree Propagators Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    51546 Ferry Road
                    Rosedale, BC
                    V0X 1X3 Canada


                    Richards Farms
                    Attn: Pres., GP., or Mng. Mbr.
                    114 West Main Street
                    Clinton, CT 06413
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                    Roth Staffing Companies, L.P.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 60003
                    Anaheim, CA 92812


                    Shell
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 90010
                    Louisville, KY 40290


                    Snap-On Industrial Brands
                    Attn: Pres. GP or Mang. Mbr.
                    23001 Network Place
                    Chicago, IL 60673


                    Spring Meadow Nursery, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    120th Avenue
                    Grand Haven, MI 49417


                    Sprint
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 4181
                    Carol Stream, IL 60197


                    Star Roses & Plants
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 217
                    Dinuba, CA 93618


                    Stinchcomb Associates, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    118 East Adams Street
                    Sandusky, OH 44870


                    The Ohio State University
                    Ohio Ag. Intern Program
                    Attn: Pres. GP. or Mang. Mbr.
                    921 Chatham Lane, Suite 111
                    Columbus, OH 43221


                    The Schundler Company
                    Attn: Pres., GP., or Mng. Mbr.
                    9985 Kaufman Road NW
                    Silverton, OR 97381
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                    Thrive Wholesale Growers
                    Attn: Pres. GP or Mang. Mbr.
                    920 S. Auto Mall Drive
                    American Fork, UT 84003


                    Triem, LLC
                    517 Pond Meadow Road
                    Westbrook, CT 06498


                    United Express Service, Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    63 Eastern Blvd.
                    Glastonbury, CT 06033


                    Varilease Finance, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    6340 South 3000 East, Ste. 400
                    Salt Lake City, UT 84121


                    W.B. Mason Co., Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 981101
                    Boston, MA 02298


                    Warren and Ann Richards Trust
                    57 Shore Road
                    Clinton, CT 06413


                    Whittemore Perlite Co., Inc.
                    Attn: Pres. GP or Mang. Mbr.
                    P.O. Box 3099
                    Andover, MA 01810


                    William B. Freeman, Esq.
                    Katten Muchin Rosenman
                    515 South Flower Street
                    Ste. 1000
                    Los Angeles, CA 90071
